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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
                   Eric Gavelek Munchel
                                                                   )      Case No.
                                                                   )
                             and                                   )
                     Lisa Marie Eisenhart                          )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                 in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 371                                 Conspiracy
18 U.S.C. § 231(a)(3)                           Civil Disorders
18 U.S.C. § 1752(a)                             Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)                          Violent Entry or Disorderly Conduct




         This criminal complaint is based on these facts:




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                      Carlos Fontanez, Special Agent FBI
                                                                                               Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.
                                                                                                           2021.01.15 18:18:37
Date:             01/15/2021                                                                               -05'00'
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                          Zia M. Faruqui U.S. Magistrate Judge
                                                                                               Printed name and title
